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                                  UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEW JERSEY

 ANDREW THOMAS
                                                  Civil Case No. 1:19-CV-13415-NLH
                     Plaintiff,
                                                  CIVIL ACTION
 vs.

 PERMAFLOOR, LLC; PERMAFLOOR
 SOUTHEAST, LLC; PERMAFLOOR
 KEYSTONE, INC.; DREW (last name
 unknown), individually; JASON HIECKE,
 individually, and CHRISTOPHER
 ROSWELL, individually,

                     Defendants,
 And

 JASON HIECKE

                     Third-party Plaintiff/
                     Counterclaimant,
 vs.

 ANDREW THOMAS, PERMAFLOOR,
 LLC; PERMAFLOOR KEYSTONE, INC.,
 HOWARD ACKERMAN, CHRIS
 ROSWELL, DOMINIC WATSON, and/or
 John Doe 1-10, individually, jointly and
 severally

                       Defendant on the
                       Counterclaim/Third-Party
                       Defendants.


                        STIPULATION OF DISMISSAL WITH PREJUDICE

        IT IS HEREBY STIPULATED AND AGREED, by and between all parties that this

matter shall be and is hereby DISMISSED with prejudice, with each party bearing its own fees

and costs.




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/s/ Zachary Holzberg

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Attorney for Plaintiff Andrew Thomas


 /s/ Patrick Healey
PATRICK J. HEALEY, ESQUIRE
Attorney for Defendant Jason Hiecke


/s/ Mark J. Molz
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DATED: 3/8/21




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